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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 THE ASSOCIATED PRESS,

                Plaintiff,

        v.
                                                          Civil Action No. 25-0532 (TNM)
 TAYLOR BUDOWICH,
 White House Deputy Chief of Staff, et al.,

                Defendants.


                                              NOTICE

       Defendants respectfully submit this notice to update the Court of a relevant development.

On Tuesday, February 25, 2025, the White House Press Secretary announced the White House’s

intent to change the way it decides who participates in its press pool. As per the Press Secretary,

this change is designed to open access to a wide range of media outlets that have not historically

been members of the pool while continuing to provide access to legacy members of the pool. See

White House, Press Secretary Karoline Leavitt Briefs Members of the Media, YouTube (Feb. 25,

2025), https://www.youtube.com/watch?v=Vl-_9pOiAl0, at 5:58–8:58.

       The United States notes this development as a courtesy to the Court as it may bear on the

challenge brought by the Associated Press in this action. The United States may address the impact

of this development in its opposition to the Associated Press’s renewed motion for a preliminary

injunction.



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Dated: February 28, 2025           Respectfully submitted,
       Washington, DC
                                   EDWARD R. MARTIN, JR., D.C. Bar #481866
                                   United States Attorney


                                   By:           /s/ Brian P. Hudak
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